

ORDER

PER CURIAM:
AND NOW, this 31st day of January, 1996, there having been filed with this Court by Michael Anthony Short his verified Statement of Resignation dated December 14, 1995, stating that he desires to resign from the Bar of the Commonwealth of Pennsylvania in accordance with the provisions of Rule 215, Pa.R.D.E., it is
ORDERED that the resignation of Michael Anthony Short be and it is hereby accepted and he is DISBARRED ON CONSENT from the Bar of the Commonwealth of Pennsylvania, retroactive to February 15, *11451995; and it is further ORDERED that he shall comply with the provisions of Rule 217, Pa.R.D.E. Respondent shall pay costs, if any, to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
